                      UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Dana A Valley
     Lorie A Valley
                                                           Case No.: 1-19-04417 HWV

                                                           Chapter 13
                     Debtor(s)

                            NOTICE OF FINAL CURE PAYMENT

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
cure the pre-petition and post-petition default in the claim below has been paid in full and the
debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  Nationstar
 Court Claim Number:             02
 Last Four of Loan Number:       3047
 Property Address if applicable: 259 Race St

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.     Allowed prepetition arrearages:                                      $16,600.48
 b.     Prepetition arrearages paid by the trustee:                          $16,600.48
 c.     Amount of postpetition fees, expenses, and charges                   $0.00
        recoverable under Bankruptcy Rule 3002.1(c):
 d.     Amount of postpetition fees, expenses, and charges                   $0.00
        recoverable under Bankruptcy Rule 3002.1(c) and paid
        by the trustee:
 e.     Allowed postpetition arrearage:                                      $0.00
 f.     Postpetition arrearage paid by the trustee:                          $0.00
 g.     Total b, d, and f:                                                   $16,600.48

 PART 3: POSTPETITION MORTGAGE PAYMENT
  Mortgage was paid through the Trustee
  from November 2019 to October 2024
  Current monthly mortgage payment:                $1,049.66
  The next post-petition payment was due
  on:                                              November 2024

PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
counsel, and the trustee, within 21 days after service of this notice, a statement indicating
whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the




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default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
current on all postpetition payments as of the date of the response. Failure to file and serve the
statement may subject creditor to further action of the court, including possible sanctions.

To assist in reconciling the claim, a history of payments made by the trustee is attached to copies
of this notice sent to the debtor(s) and the creditor.


Dated: November 27, 2024                               Respectfully submitted,


                                                       /s/ Jack N. Zaharopoulos
                                                       Standing Chapter 13 Trustee
                                                       Suite A, 8125 Adams Drive
                                                       Hummelstown, PA 17036
                                                       Phone: (717) 566-6097
                                                       Fax: (717) 566-8313
                                                       email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Re: Dana A Valley
    Lorie A Valley
                                                            Case No.: 1-19-04417 HWV

                                                            Chapter 13
                     Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on November 27, 2024, I served a copy of
this Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
PA, unless served electronically.

  Served Electronically
  Nicholas G. Platt, Esquire
  Mooney Law
  230 York St
  Hanover PA 17331


  Served by First Class Mail
  Nationstar Mtg, LLC
  PO Box 619096
  Dallas TX 75261-9741

  Dana A Valley
  Lorie A Valley
  259 N Race St
  Middletown PA 17057



  I certify under penalty of perjury that the foregoing is true and correct.


  Date: November 27, 2024                               /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                          Disbursements for Claim
Case: 19-04417           DANA A. VALLEY
         NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER
                                                                             Sequence: 07
         PO BOX 619094
                                                                                Modify:
                                                                            Filed Date:
         DALLAS, TX 75261-9741
                                                                            Hold Code:
 Acct No: 3047



                                            Debt:        $60,878.96       Interest Paid:                 $0.00
        Amt Sched:                $0.00                                     Accrued Int:                  $0.00
         Amt Due:    $1,049.66               Paid:       $60,878.96        Balance Due:                   $0.00

Claim name                         Type      Date         Check #     Principal     Interest       Total Reconciled
                                                                                         DisbDescrp
 5010        NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER
                                         11/19/2024
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            2042140     $1,049.66       $0.00      $1,049.66
                                                                                           Payment for 9/2024
                                         11/19/2024
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            2042140     $1,049.66       $0.00      $1,049.66
                                                                                           Payment for 10/2024
                                         08/07/2024
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            2039154     $1,049.66       $0.00      $1,049.66 08/16/2024
                                                                                           Payment for 8/2024
                                         07/10/2024
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            2038286     $1,049.66       $0.00      $1,049.66 07/24/2024
                                                                                           Payment for 7/2024
                                         06/18/2024
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            2037462     $1,049.66       $0.00      $1,049.66 06/28/2024
                                                                                           Payment for 6/2024
                                         05/22/2024
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            2036553     $1,049.66       $0.00      $1,049.66 06/03/2024
                                                                                           Payment for 5/2024
                                         04/17/2024
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            2035547     $1,049.66       $0.00      $1,049.66 04/25/2024
                                                                                           Payment for 4/2024
                                         03/14/2024
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            2034583     $1,049.66       $0.00      $1,049.66 03/27/2024
                                                                                           Payment for 3/2024
                                         02/14/2024
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER             2033621 $1,049.66          $0.00      $1,049.66 02/28/2024
                                                                                           Payment for 2/2024
                                         01/12/2024
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            2032700     $1,049.66       $0.00      $1,049.66 01/24/2024
                                                                                           Payment for 1/2024
                                         12/19/2023
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            2031797     $1,049.66       $0.00      $1,049.66 01/03/2024
                                                                                           Payment for 12/2023
                                         11/15/2023
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            2030840     $1,012.50       $0.00      $1,012.50 11/29/2023
                                                                                           Payment for 11/2023
                                         10/18/2023
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER             2029891 $1,012.50          $0.00      $1,012.50 11/01/2023
                                                                                           Payment for 10/2023
                                         09/19/2023
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            2028904     $1,012.50       $0.00      $1,012.50 09/29/2023
                                                                                           Payment for 9/2023


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Claim name                        Type     Date        Check #     Principal   Interest       Total Reconciled
                                                                                    DisbDescrp
                                         08/09/2023
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2027883     $1,012.50     $0.00    $1,012.50 08/17/2023
                                                                                   Payment for 8/2023
                                         07/11/2023
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2026905     $1,012.50    $0.00    $1,012.50 07/20/2023
                                                                                   Payment for 7/2023
                                         06/13/2023
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2025987     $1,012.50    $0.00    $1,012.50 06/23/2023
                                                                                   Payment for 6/2023
                                         05/16/2023
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2025045     $1,012.50    $0.00    $1,012.50 05/26/2023
                                                                                   Payment for 5/2023
                                         04/18/2023
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2024028     $1,012.50    $0.00    $1,012.50 04/28/2023
                                                                                   Payment for 4/2023
                                         03/15/2023
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2023006     $1,012.50    $0.00    $1,012.50 03/24/2023
                                                                                   Payment for 3/2023
                                         02/15/2023
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2021995     $1,012.50    $0.00    $1,012.50 02/24/2023
                                                                                   Payment for 2/2023
                                         01/18/2023
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2020996     $1,012.50    $0.00    $1,012.50 01/26/2023
                                                                                   Payment for 1/2023
                                         12/13/2022
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2019995     $1,012.50    $0.00    $1,012.50 12/22/2022
                                                                                   Payment for 12/2022
                                         11/16/2022
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2019045     $1,012.50    $0.00    $1,012.50 12/14/2022
                                                                                   Payment for 11/2022
                                         10/18/2022
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2018002     $1,012.50    $0.00    $1,012.50 10/27/2022
                                                                                   Payment for 10/2022
                                         09/13/2022
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2016947     $1,012.50    $0.00    $1,012.50 09/22/2022
                                                                                   Payment for 9/2022
                                         08/17/2022
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2015923     $1,012.50    $0.00    $1,012.50 08/25/2022
                                                                                   Payment for 8/2022
                                         07/13/2022
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER          2014861 $1,012.50       $0.00    $1,012.50 07/21/2022
                                                                                   Payment for 7/2022
                                         06/14/2022
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2013896     $1,012.50    $0.00    $1,012.50 06/24/2022
                                                                                   Payment for 6/2022
                                         05/17/2022
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2012857     $1,012.50    $0.00    $1,012.50 05/25/2022
                                                                                   Payment for 5/2022
                                         04/12/2022
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2011783     $1,012.50    $0.00    $1,012.50 04/21/2022
                                                                                   Payment for 4/2022
                                         03/16/2022
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2010765     $1,012.50    $0.00    $1,012.50 03/24/2022
                                                                                   Payment for 3/2022
                                         02/16/2022
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2009782     $1,012.50    $0.00    $1,012.50 02/28/2022
                                                                                   Payment for 2/2022
                                         01/19/2022
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2008802     $1,012.50    $0.00    $1,012.50 02/01/2022
                                                                                   Payment for 1/2022

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Claim name                        Type     Date        Check #     Principal   Interest       Total Reconciled
                                                                                    DisbDescrp
                                         12/15/2021
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2007795     $1,012.50     $0.00    $1,012.50 12/24/2021
                                                                                   Payment for 12/2021
                                         11/16/2021
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2006769     $1,002.14    $0.00    $1,002.14 11/24/2021
                                                                                   Payment for 11/2021
                                         10/14/2021
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER          2005741 $1,002.14       $0.00    $1,002.14 10/21/2021
                                                                                   Payment for 10/2021
                                         09/14/2021
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2004696     $1,002.14    $0.00    $1,002.14 09/22/2021
                                                                                   Payment for 9/2021
                                         08/18/2021
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2003688     $1,002.14    $0.00    $1,002.14 08/27/2021
                                                                                   Payment for 8/2021
                                         07/14/2021
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER          2002621 $1,002.14       $0.00    $1,002.14 07/22/2021
                                                                                   Payment for 7/2021
                                         06/16/2021
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         2001642     $1,002.14    $0.00    $1,002.14 06/24/2021
                                                                                   Payment for 6/2021
                                         05/18/2021
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER          2000631 $1,002.14       $0.00    $1,002.14 05/28/2021
                                                                                   Payment for 5/2021
                                         04/15/2021
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         1229257     $1,002.14    $0.00    $1,002.14 04/27/2021
                                                                                   Payment for 4/2021
                                         03/17/2021
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         1228238     $1,002.14    $0.00    $1,002.14 03/26/2021
                                                                                   Payment for 3/2021
                                         02/17/2021
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         1227223     $1,002.14    $0.00    $1,002.14 03/01/2021
                                                                                   Payment for 2/2021
                                         01/19/2021
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         1226203     $1,002.14    $0.00    $1,002.14 01/28/2021
                                                                                   Payment for 1/2021
                                         12/10/2020
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         1224416     $1,002.14    $0.00    $1,002.14 12/17/2020
                                                                                   Payment for 12/2020
                                         11/03/2020
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER          1223481 $1,000.54       $0.00    $1,000.54 11/12/2020
                                                                                   Payment for 11/2020
                                         10/15/2020
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         1222649     $1,000.54    $0.00    $1,000.54 10/23/2020
                                                                                   Payment for 9/2020
                                         10/15/2020
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         1222649     $1,000.54    $0.00    $1,000.54 10/23/2020
                                                                                   Payment for 10/2020
                                         09/17/2020
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         1221652     $1,000.54    $0.00    $1,000.54 09/24/2020
                                                                                   Payment for 8/2020
                                         08/12/2020
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER          1220591 $1,000.54       $0.00    $1,000.54 08/19/2020
                                                                                   Payment for 7/2020
                                         07/07/2020
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         1219553     $1,000.54    $0.00    $1,000.54 07/21/2020
                                                                                   Payment for 6/2020
                                         06/02/2020
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER         1218522     $1,000.54    $0.00    $1,000.54 06/12/2020
                                                                                   Payment for 5/2020

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Claim name                        Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                       DisbDescrp
                                         05/06/2020
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            1217555     $1,000.54     $0.00   $1,000.54 05/15/2020
                                                                                      Payment for 4/2020
                                         04/14/2020
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            1216513     $1,000.54    $0.00    $1,000.54 04/23/2020
                                                                                      Payment for 3/2020
                                         03/12/2020
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            1215232     $1,000.54    $0.00    $1,000.54 03/19/2020
                                                                                      Payment for 2/2020
                                         02/13/2020
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            1213918     $1,000.54    $0.00    $1,000.54 02/21/2020
                                                                                      Payment for 1/2020
                                         01/16/2020
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            1212566     $1,000.54    $0.00    $1,000.54 01/27/2020
                                                                                      Payment for 12/2019
                                         12/12/2019
501-0 NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER            1211206     $1,000.54    $0.00    $1,000.54 12/19/2019
                                                                                      Payment for 11/2019
                                                       Sub-totals: $60,878.96      $0.00 $60,878.96

                                                      Grand Total: $60,878.96      $0.00




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                                              Disbursements for Claim
Case: 19-04417          DANA A. VALLEY
         NATIONSTAR MORTGAGE LLC D/B/A MR COOPER
                                                                                 Sequence: 24
         PO BOX 619094
                                                                                    Modify:
                                                                                Filed Date: 11/14/2019 12:00:00AM
         DALLAS, TX 75261-
                                                                                Hold Code:
 Acct No: 3047/PRE ARREARS/259 N RACE ST



                                                Debt:        $16,600.48      Interest Paid:              $0.00
        Amt Sched:              $122,490.00                                    Accrued Int:               $0.00
         Amt Due:       $0.00                    Paid:       $16,600.48       Balance Due:                $0.00

Claim name                             Type      Date         Check #     Principal    Interest       Total Reconciled
                                                                                            DisbDescrp
 5200        NATIONSTAR MORTGAGE LLC D/B/A MR COOPER
                                         11/19/2024
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER                 2042139      $326.81       $0.00     $326.81


                                         08/07/2024
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER                 2039153      $377.08       $0.00     $377.08 08/16/2024


                                         07/10/2024
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER                 2038285      $405.52       $0.00     $405.52 07/24/2024


                                         06/18/2024
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER                  2037461     $377.08       $0.00     $377.08 06/28/2024


                                         05/22/2024
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER                 2036552      $348.64       $0.00     $348.64 06/03/2024


                                         04/17/2024
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER                 2035546      $348.64       $0.00     $348.64 04/25/2024


                                         03/14/2024
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER                 2034582      $377.08       $0.00     $377.08 03/27/2024


                                         02/14/2024
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER                 2033620      $377.08       $0.00     $377.08 02/28/2024


                                         01/12/2024
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER                 2032699      $377.08       $0.00     $377.08 01/24/2024


                                         12/19/2023
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER                 2031796      $347.34       $0.00     $347.34 01/03/2024


                                         11/15/2023
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER                 2030839      $376.46       $0.00     $376.46 11/29/2023


                                         10/18/2023
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER                 2029890      $409.78       $0.00     $409.78 11/01/2023


                                         09/19/2023
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER                 2028903      $420.90       $0.00     $420.90 09/29/2023


                                         08/09/2023
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER                 2027882      $443.10       $0.00     $443.10 08/17/2023




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Claim name                        Type     Date        Check #     Principal   Interest       Total Reconciled
                                                                                    DisbDescrp
                                         07/11/2023
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2026904      $443.10      $0.00     $443.10 07/20/2023


                                         06/13/2023
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2025986      $416.72     $0.00      $416.72 06/23/2023


                                         05/16/2023
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2025044      $390.34     $0.00     $390.34 05/26/2023


                                         04/18/2023
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2024027      $366.05     $0.00      $366.05 04/28/2023


                                         03/15/2023
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2023005      $390.34     $0.00     $390.34 03/24/2023


                                         02/15/2023
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2021994      $390.34     $0.00     $390.34 02/24/2023


                                         01/18/2023
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2020995      $366.05     $0.00      $366.05 01/26/2023


                                         12/13/2022
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2019994      $390.34     $0.00     $390.34 12/22/2022


                                         11/16/2022
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2019043      $390.34     $0.00     $390.34 12/14/2022


                                         10/18/2022
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2018000      $419.15     $0.00      $419.15 10/27/2022


                                         09/13/2022
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2016946      $461.14     $0.00     $461.14 09/22/2022


                                         08/17/2022
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2015922      $454.55     $0.00      $454.55 08/25/2022


                                         07/13/2022
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2014860      $390.34     $0.00     $390.34 07/21/2022


                                         06/14/2022
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2013895      $366.74     $0.00     $366.74 06/24/2022


                                         05/17/2022
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2012856      $336.55     $0.00      $336.55 05/25/2022


                                         04/12/2022
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER           2011781     $366.74     $0.00     $366.74 04/21/2022


                                         03/16/2022
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2010764      $366.74     $0.00     $366.74 03/24/2022


                                         02/16/2022
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER           2009781     $366.74     $0.00     $366.74 02/28/2022


                                         01/19/2022
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER           2008801     $336.55     $0.00      $336.55 02/01/2022


                                         12/15/2021
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER          2007794      $367.10     $0.00     $367.10 12/24/2021



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Claim name                        Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                       DisbDescrp
                                         11/16/2021
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER             2006768      $331.17      $0.00     $331.17 11/24/2021


                                         10/14/2021
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER             2005740      $386.40     $0.00     $386.40 10/21/2021


                                         09/14/2021
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER             2004695      $396.66     $0.00      $396.66 09/22/2021


                                         08/18/2021
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER             2003687      $373.86     $0.00      $373.86 08/27/2021


                                         07/14/2021
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER             2002620      $396.66     $0.00      $396.66 07/23/2021


                                         06/16/2021
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER             2001641      $396.66     $0.00      $396.66 06/24/2021


                                         05/18/2021
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER             2000630      $339.66     $0.00      $339.66 05/28/2021


                                         04/15/2021
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER             1229256      $351.06     $0.00      $351.06 04/23/2021


                                         03/17/2021
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER             1228237       $26.76     $0.00        $26.76 03/26/2021


                                         10/15/2020
520-0 NATIONSTAR MORTGAGE LLC D/B/A MR COOPER             1222648      $513.04     $0.00     $513.04 10/23/2020


                                                       Sub-totals: $16,600.48      $0.00 $16,600.48

                                                      Grand Total: $16,600.48      $0.00




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